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EMMoNS & JACKSON, P.C.

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.}anuar_\' 4, 2013

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The Honorab|e Lynn N. Hughes

United States District Judge Vl'a fax: (713) 250-5650
515 F{usk Ave., th. 5300
Houston, Texas 77002-2605

Re: Case No. 4:11-ov-02670; Praw'ndrajit Sandhu v. Co!!abis, LLC; ln
the United States District Court for the Southern Distriot of Texas,
Houston Division

Dear Judge Hughes:

The fully executed settlement agreement has been delivered to my ottioe. The
settlement is complete

Thank you for your assistance in this matter.

  
  

Sinoere|y yours,

Daniel W.
P|aintitf‘s Counsel

 
      

E:LD€Hebaoh
nts' Counse|

 

